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RlTALANDA Rchs

Edwin Per[y, FPD
Defense Attorney

200 Jefferson Ave., Suite 200
Memphis, TN 38103

 

JUDGMENT lN A CRlN|INAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on April 25, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense:

Date Count
Title & section MM Offense Numberlsl
Concluded
18 U.S.C. § 513(a) Uttering or Possession of Counterfeit 06/13/2002 2

Security

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996

Count 3 is dismissed on the motion of the United States.
lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

Within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 12."8/1976 August 02, 2005
Deft’s U.S. lVlarshal No.: 20045-076

Defendant’s lVlaillng Address:
850 Hilton Street
l\llemphis, TN 38114

J. DAN|EL\BREEN
map sTATEs olsTRicT JquE

' document entered on the docket it§*¢ n Cm§;»puance August L j 2005

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PROBAT|ON

The defendant is hereby placed on probation for a term of 2 ‘(ears.

VVhile on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). |f this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submits truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, usel

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed, or administered; The defendant shali not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation offtcer;

8. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ocher;

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10. The defendant shall not enter into any agreement to act as an informer or a special agent cfa law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compiiance with such
notification requirement

12. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payrnents set
forth in the Criminal Nlonetary Penalties sheet of thisjudgment.

ADD|T|ONAL CONDIT|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1.

Participate in the Home Detention program fora period of 6 Months. During
this time, defendant will remain at defendant's place of residence except for
employment and other activities approved in advance by the Defendant’s
Probation Officer. Defendant will be subject to the standard conditions of
Home Detention adopted for use in the Western District of Tennessee, which
may include the requirement to wear an electronic monitoring device and to
follow electronic monitoring procedures specified by the Probation Officer.

Participate in substance abuse testing and treatment as deemed appropriate
by the Probation Officer.

The defendant shall be prohibited from incurring new credit charges, opening
additional lines of credit1 or making an obligation for any major purchases
without approval of the Probation Officer.

Provide the Probation Officer access to any requested financial information.

Provide third party risk notification as directed by the Probation Officer.

Cooperate with DNA collection as directed by the Probation Officer.

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CR|M|NAL MONETARY PENALT|ES

The defendant shall paythefollowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00 $2,000.00

The Special Assessment shall be due immediately.

FlNE
A Fine in the amount of $ 2,000.00 is imposed.

REST|TUT|ON

No Restitution was ordered.

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SCHEDULE OF PAYMENTS

Having assessed the defendants abiiity to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Specia| instructions regarding the payment of criminal monetary penalties:

Defendant shall pay the tina in regular monthly installments of not less than 10% of
her gross monthly income.

Unless the court has expressly ordered othenrvise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment Ali criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibi|ity Program, are made to the clerk of the
court, unless othenrvise directed by the court, the probation officer, or the United States attomey_

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 65 in
case 2:04-CR-20456 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
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Ste. 200

Memphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

